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EXHIBIT G
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17 SUPERIOR COURT OF THE STATE OF CALIFORNIA
18 FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT

20 || ROBERT BELL, on behalf of himself and a class| Case No. BC 4385 7
of those similarly situated,

21 Assigned to: Hon. Teresa Sanchez-Gordon,
Plaintiff, Dept. 74
% sare
VS. JSED] ORDER GRANTING
23 COMMON FUND ATTORNEYS’ FEES
FARMERS SERVICES, LLC, AND EXPENSES
24
Defendant. Date:
25 Time:
Place: Department 74
26
Date Action Filed: | May 25, 2010
27 Trial Date: None
28

[PROPOSED] ORDER GRANTING COMMON FUND ATTORNEYS’ FEES AND EXPENSES
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On May 29, 2013, the Court held a hearing on Plaintiff's Motion for Common Fund
Attorneys’ Fees and Expenses.

Having considered Plaintiff's memorandum of points and authorities in support of its
motion, the supporting evidence, and the argument of counsel, the Court GRANTS Plaintiff's
Motion for Common Fund Attorneys’ Fees and Expenses.

1. Common Fund Attorney’s Fees

Class Counsel seek an attorneys’ fee award of $840,000, or 30 percent of the $2,800,000
settlement fund. “Courts recognize two methods for calculating attorney fees in civil class
actions: the lodestar/multiplier method and the percentage of recovery method.” Wershba v.
Apple Computer, Inc., 91 Cal. App. 4th 224, 254 (2001). The Court finds that the requested
attorneys’ fees are reasonable under either method.

The lodestar is calculated by multiplying the reasonable hours expended by reasonable
hourly rates for each attorney. Id. The lodestar can then be adjusted or enhanced with a
multiplier, if appropriate. Jd. Here, Class Counsel submitted declarations establishing both the
number of hours expended on the case and the hourly rates for their services. The Court finds
that the hourly rates set forth in these declarations are sexumnabile and in line with market rates for
attorneys of similar experience in the San Francisco Bay Area, and that the number of hours
expended, after the exercise of billing judgment by Class Counsel, as set forth in the declarations,
is likewise reasonable. Based on this information, Class Counsel’s total lodestar is
$1,475,505.50. As such, the requested fee award of $840,000 is Jess than the lodestar value of
Class Counsel’s work. Indeed, Class Counsel are only requesting approximately 57 percent of
their lodestar. Given this, the fee award sought is easily fair and reasonable under a lodestar
analysis. °

The requested fee award is also reasonable under a percentage-of-the-fund analysis.
Thirty percent of the common fund is well within the range of what is commonly awarded for
attorneys’ fees in contingent class actions. See, e.g., Munoz v. BCI Coca-Cola Bottling Co. of
Los Angeles, 186 Cal. App. 4th 399, 403 (2010) (affirming settlement with 30% fee award in

wage-and-hour class action); Chavez v. Netflix, Inc., 162 Cal. App. 4th 43, 66 n.11 (2008) (“fee

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[PROPOSED] ORDER GRANTING COMMON FUND ATTORNEYS’ FEES AND EXPENSES
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awards in class actions average around one-third of the recovery”) (internal quotation marks
omitted). Here, the fairness of a thirty-percent award is supported by the effectiveness of Class
Counsel’s legal representation, the results obtained, and the risks of continued litigation; the fact
that Class Counsel undertook the representation on a contingency basis and to the exclusion of
other paying work; and the positive response of the Class to the settlement. See In re Consumer
Privacy Cases, 175 Cal. App. 4th 545, 556 (2009) (listing factors considered in determining fee
award). Class Counsel’s diligent investigation and vigorous litigation of the class claims
positioned Plaintiff to settle this case for $2.8 million, thus providing meaningful monetary relief
to the class and avoiding the risk and expense of protracted litigation. Moreover, in the nearly
three years it has taken to resolve Plaintiff’s claims, Class Counsel performed more than 2800
hours of work, without any payment from their client and to the exclusion of other paying work.
Finally, the notice mailed to the class expressly stated that Class Counsel would be seeking up to
30% of the common fund, or $840,000, in attorneys’ fees. No objections to the settlement or to
proposed fee award have been received by counsel or the claims administrator.

For all of these reasons, the Court finds the requested fee award to be fair and reasonable.
Accordingly, the Court hereby awards Class Counsel attorneys’ fees in the amount of $840,000

2. Expenses

Class Counsel also seek $55,000 from the settlement fund as reimbursement for out-of-
pocket expenses they incurred during this litigation. Class Counsel have submitted declarations
summarizing the amount and purpose of the expenses incurred in this case. Having reviewed
these declarations, the Court finds that Class Counsel properly seek reimbursement for the types
of expenses ordinarily incurred in the course of litigation (for example, filing fees, deposition
transcripts, and copying charges) and that these expenses were reasonably incurred for the
benefit of the class. Moreover, the reimbursement requested is less than the $55,223.25 in out-
of-pocket expenses that Class Counsel actually incurred. Finally, although the notice mailed to
the class expressly stated that Class Counsel would seek up to $55,000 from the settlement fund
as reimbursement for out-of-pocket expenses, no objections to the proposed reimbursement have

been received by. counsel or the claims administrator.
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[PROPOSED] ORDER GRANTING COMMON FUND ATTORNEYS’ FEES AND EXPENSES
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1 For these reasons, the Court finds that reimbursement of $55,000 for costs and expenses
2 || is justified. Accordingly, the Court hereby awards Class Counsel expenses in the amount of

3 || $55,000.

4 || ITIS SO ORDERED.

Hon. Teresa Sanchez-Gordon
LOS ANGELES COUNTY SUPERIOR
COURT JUDGE

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6 || Dated: S 3/—) 3 HEZ-GORDON
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[PROPOSED] ORDER GRANTING COMMON FUND ATTORNEYS’ FEES AND EXPENSES
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